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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



                                                                      MDL No. 2804

IN RE: NATIONAL PRESCRIPTION                                      Case No. 1:17-md-2804
OPIATE LITIGATION
                                                                 Judge Dan Aaron Polster



                    OPTUMRX, INC. AND EXPRESS SCRIPTS, INC.’S
                      BELLWETHER SELECTION SUBMISSION

       In accordance with the Court’s Order Regarding PBM Bellwether Process (Dkt. 5166), as

modified by the Court’s October 4, 2023 non-document order, OptumRx and Express Scripts identify

the following four cases as their PBM bellwether selections:

   •   Third Circuit: City of Paterson v. Purdue Pharma, L.P., et al., No. 1:18-op-45371-DAP

   •   Fourth Circuit: Goochland County, Virginia v. Mallinckrodt, PLC, et al., No. 1:20-op-45175-DAP

   •   Fifth Circuit: County of Webb, Texas v. Purdue Pharma, L.P., et al., No. 1:18-op-45175-DAP

   •   Eighth Circuit: Lincoln County v. Richard S. Sackler, M.D., et al., No. 1:20-op-45069-DAP

       OptumRx and Express Scripts reserve all rights, defenses, and objections with respect to the

above-listed cases and the cases proposed by the Plaintiffs’ Executive Committee.



Date: October 11, 2023
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Respectfully submitted,

/s/ Brian D. Boone                          /s/ Jonathan G. Cooper
Brian D. Boone                              Michael J. Lyle
ALSTON & BIRD LLP                           Jonathan G. Cooper
Vantage South End                           QUINN EMANUEL URQUHART &
1120 South Tryon Street, Suite 300          SULLIVAN, LLP
Charlotte, NC 28203                         1300 I St. NW, Suite 900
Tel: (704) 444-1000                         Washington, DC 20005
brian.boone@alston.com                      Tel: (202) 538-8000
                                            mikelyle@quinnemanuel.com
William H. Jordan                           jonathancooper@quinnemanuel.com
ALSTON & BIRD LLP
                                            Attorneys for Defendant Express Scripts, Inc.
1201 West Peachtree Street NW, Suite 4900
Atlanta, GA 30309
Tel.: (404) 881-7000
bill.jordan@alston.com

Attorneys for Defendant OptumRx, Inc.
